Case 1:16-cv-00282-PJB Document 25 Filed 01/13/17 Page 1 of 6   PageID #: 115




                     UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MAINE



Bonny L. Hutchins Buzzell

     v.                                       Civil No. 16-cv-280-PJB

Skowhegan Saving Bank et al.



Bonny L. Hutchins Buzzell

     v.                                       Civil No. 16-cv-281-PJB

Kirk R. House et al.


Bonny L. Hutchins Buzzell et al.1

     v.                                       Civil No. 16-cv-282-PJB

Broadway Veterinary Clinic et al.


                                O R D E R


     Bonny L. Hutchins Buzzell, a pro se litigant proceeding in

forma pauperis, has filed a complaint and complaint addenda in

each of the above-captioned cases, naming dozens of defendants

in each case.    See Hutchins Buzzell v. Skowhegan Saving Bank,



     1The complaint in Hutchins Buzzell v. Broadway Veterinary
Clinic, No. 16-cv-282-PJB, names both Hutchins Buzzell and her
dog, Foxy Wogills Prancie, as plaintiffs. Dogs may not bring
federal lawsuits, and the complaint is construed to be filed
only by Hutchins Buzzell.
Case 1:16-cv-00282-PJB Document 25 Filed 01/13/17 Page 2 of 6   PageID #: 116




No. 16-cv-280-PJB (Doc. Nos. 1, 7, 10, 11); Hutchins Buzzell v.

House, No. 16-cv-281-PJB (Doc. Nos. 1, 7, 10, 11); Hutchins

Buzzell v. Broadway Veterinary Clinic, No. 16-cv-282-PJB (Doc.

Nos. 1, 6, 9, 10).2    These cases are before this court for

preliminary review pursuant to 28 U.S.C. § 1915(e)(2).            Also

before the court, in two of the cases, are plaintiff’s motions

to amend the complaint.      See Hutchins Buzzell v. House, No. 16-

cv-281-PJB (Doc. No. 15); Hutchins Buzzell v. Broadway

Veterinary Clinic, No. 16-cv-282-PJB (Doc. No. 15).



                               Background

     Plaintiff’s filings are convoluted and follow no single

narrative path.    Construed liberally in light of plaintiff’s pro

se status, see Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per

curiam), the complaint documents generally allege that the named

defendants in each action have persecuted, harassed, threatened,

and otherwise abused plaintiff, her family members, and her

service dog; and that defendants have subjected her, her family

members, and her service dog, to mental, sexual, financial, and

physical harm.    While far from exhaustive, some examples of


     2In each case captioned above, the court construes the
complaint to include the assertions contained in the complaint
addenda filed in that case.


                                     2
Case 1:16-cv-00282-PJB Document 25 Filed 01/13/17 Page 3 of 6   PageID #: 117




these wrongs and harms, alleged in each of the complaints, are:

           Unspecified defendants have attempted to murder
            plaintiff by orchestrating dog attacks on her while
            she was walking to the federal courthouse to file
            civil actions, and police agencies and a counselling
            center have failed to act on her reports of those
            attacks.

           Unspecified defendants, driving orange cars and black
            trucks, vehicles whose make, model, and color have a
            coded meaning, have tried to run her over numerous
            times, while one or more of the operators of those
            vehicles was using medical marijuana.

           Both of plaintiff’s ex-husbands secretly had children
            with other women before they were married to
            plaintiff, and the mothers of those children have
            prevented plaintiff from receiving pastoral care at a
            number of churches and otherwise stalked and harassed
            her.

           On multiple occasions, unnamed defendants have caused
            plaintiff to be stranded in a public place, sometimes
            by causing taxis and public transportation not to pick
            her up, so that those defendants can stalk and abuse
            plaintiff when she is alone.

           Unspecified defendants have sabotaged plaintiff’s
            efforts to obtain employment, medical, and mental
            health records, government benefits, and safe housing,
            over many years, utilizing harassment and abuse and by
            otherwise terrorizing her.

           On more than one occasion, plaintiff’s service dog was
            restrained and abused physically and sexually at a
            veterinary clinic where clinic staff had faked
            injuries and alleged that those injuries had been
            inflicted by her dog to justify their treatment of the
            dog.




                                     3
Case 1:16-cv-00282-PJB Document 25 Filed 01/13/17 Page 4 of 6   PageID #: 118




                               Discussion

I.   Preliminary Review

     In conducting a preliminary review of a complaint filed in

forma pauperis, this court may dismiss the case before

defendants appear, if the court determines that the complaint

fails to state a claim, or that the action is frivolous.            See 28

U.S.C. § 1915(e)(2)(B)(i), (ii).         To survive preliminary review,

the complaint must contain “sufficient factual matter, accepted

as true, to ‘state a claim to relief that is plausible on its

face.’”   See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007));

see also Sepúlveda-Villarini v. Dep’t of Educ., 628 F.3d 25, 29

(1st Cir. 2010).

     [A] court may dismiss a claim as factually frivolous only
     if the facts alleged are “clearly baseless,” a category
     encompassing allegations that are “fanciful,” “fantastic,”
     and “delusional.” As those words suggest, a finding of
     factual frivolousness is appropriate when the facts alleged
     rise to the level of the irrational or the wholly
     incredible, whether or not there are judicially noticeable
     facts available to contradict them.

Denton v. Hernandez, 504 U.S. 25, 32-33 (1992) (quoting Neitzke

v. Williams, 490 U.S. 319, 325, 327-28 (1989)).

     Plaintiff’s allegations are disjointed and largely

conclusory, and frequently fail to identify who she alleges is

liable to her for the harms claimed.         Further, none of the



                                     4
Case 1:16-cv-00282-PJB Document 25 Filed 01/13/17 Page 5 of 6   PageID #: 119




allegations give rise to any cause of action cognizable here,

even those that are stated with sufficient specificity to allow

the court to understand what wrongs plaintiff claims have been

committed against her, and by whom.        Accordingly, each of the

above-captioned cases are subject to being dismissed as

frivolous.   See 28 U.S.C. § 1915(e)(2)(B)(i); Denton, 504 U.S.

at 32-33.

II.   Motions to Amend3

      In plaintiff’s motions to amend, she seeks to add new

defendants to two of her cases, but does not otherwise include

further factual assertions.      In general, under Fed. R. Civ. P.

15(a), leave to amend the complaint in a civil case is to be

“freely given.”    Leave to amend may be denied, however, if the

proposed complaint amendment would be futile.         See Morgan v.

Town of Lexington, 823 F.3d 737, 742 (1st Cir. 2016).            Because

the court finds that plaintiff has failed to state any

nonfrivolous claims upon which relief could be granted, the

motions to amend are denied, as amending a complaint to add

defendants to noncognizable claims would be futile.




      3SeeHutchins Buzzell v. House, No. 16-cv-281-PJB (Doc. No.
15); Hutchins Buzzell v. Broadway Veterinary Clinic, No. 16-cv-
282-PJB (Doc. No. 15).


                                     5
Case 1:16-cv-00282-PJB Document 25 Filed 01/13/17 Page 6 of 6   PageID #: 120




                               Conclusion

      For the foregoing reasons, the court directs as follows:

      1.   The complaint and complaint addenda in each of the

above-captioned cases is frivolous, and each case will be

dismissed in fourteen days on that ground, unless plaintiff

files a motion to reconsider this Order, prior to that deadline,

showing cause why any of the cases should not be dismissed.

      2.   The motions to amend filed in Hutchins Buzzell v.

House, No. 16-cv-281-PJB (Doc. No. 15), and Hutchins Buzzell v.

Broadway Veterinary Clinic, No. 16-cv-282-PJB (Doc. No. 15), are

denied.

      SO ORDERED.



                                  /s/Paul Barbadoro
                                  Paul Barbadoro
                                  United States District Judge

January 13, 2017

cc:   Bonny L. Hutchins Buzzell, pro se




                                     6
